                                  EXHIBIT 25

                       UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF ARIZONA
      _______________________________________
      In re:                                   )
                                               )
      LEGACY CARES, INC.             CH: 11    )   2-23-02832
                                               )
      TRANSCRIPT OF SECTION 341 HEARING        )
                                               )
      MEETING OF CREDITORS                     )
      _______________________________________ )

                                          U.S. Bankruptcy Court
                                          230 N. First Avenue, Suite 101
                                          Phoenix, AZ 85003-1706

                                          June 6, 2023
                                          9:00 a.m.

                BEFORE TRUSTEE JENNIFER GIAIMO, Hearing Officer

                             VIDEO/TELEPHONIC HEARING

      APPEARANCES:

       For the Debtor:                    J. Henk Taylor
                                          WARNER ANGLE HALLAM JACKSON
                                          & FORMANEK, PLC
                                          2555 E. Camelback Rd., Ste. 800
                                          Phoenix, AZ 85016

      For UMB Bank:                       Peter Riggs
                                          SPENCER FANE LLP
                                          2415 E. Camelback Rd., #600
                                          Phoenix, AZ 85016

      For Unsecured Creditors             Jordan Kroop
      Committee:                          PACHULSKI, STANG, ZIEHL & JONES
                                          10100 Santa Monica Blvd.
                                          13th Floor
                                          Los Angeles, CA 90067-4003

      For Two Entities:                   D. Lamar Hawkins
                                          GUIDANT LAW FIRM
                                          402 E. Southern Avenue
                                          Tempe, AZ 85282




Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                 Desc Exhibit 25 - 341 Transcript Page 1 of 27
      APPEARANCES: (Continued)

      For RKS Plumbing:                   James Reed
                                          UDALL SHUMWAY
                                          1138 N. Alma School Rd., #101
                                          Mesa, AZ 85201

      For Haydon Companies, Inc.:         Robert Warnicke
                                          WARNICKE LAW PLC
                                          1 E. Washington Street, #400
                                          Phoenix, AZ 85004

      For Kearney Electric, Inc.:         Philip J. Giles
                                          ALLEN, JONES, AND GILES PLC
                                          1850 N. Central Avenue, #1150
                                          Phoenix, AZ 85004

      For Insight Investments, LLC:       Kathleen M. Allare
                                          2901 N. Central Avenue, #20
                                          Phoenix, AZ 85012

      For Wholesale Floors:               Bradley D. Pack
                                          ENGELMAN BERGER PC
                                          2800 N. Central Ave., Ste. 1200
                                          Phoenix, AZ 85004

       Also Present:                      Douglas Moss
                                          President of Legacy Cares

                                          Keith Bierman
                                          Senior Managing Director of MCA




      Proceedings recorded by electronic sound recording; transcript
      produced by eScribers, LLC.



Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                 Desc Exhibit 25 - 341 Transcript Page 2 of 27
                                        INDEX

      WITNESS:                           PAGE

      Douglas Moss
        (By the Hearing Officer)         7, 51, 71, 98, 112, 114
        (By Mr. Hawkins)                 85
        (By Mr. Reed)                    86
        (By Mr. Warnicke)                90
        (By Mr. Pack)                    92

      Keith Bierman
        (By the Hearing Officer)         39, 67, 98, 111, 113
        (By Mr. Pack)                    92




Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                 Desc Exhibit 25 - 341 Transcript Page 3 of 27
                                                                              4


   1              HEARING OFFICER:     Okay.   Good morning.     We are

   2   officially on the record.      My name is Jennifer Giaimo.       I am an

   3   attorney for the United States Trustee, which is a component of

   4   the United States Department of Justice.        I will be presiding

   5   over this meeting on behalf of the United States Trustee, or

   6   UST.

   7              We are here telephonically to conduct the meeting of

   8   creditors pursuant to Bankruptcy Code Section 341(a) in the

   9   matter of Legacy Cares, Inc., case number 23-2832, currently

  10   pending in the U.S. Bankruptcy Court for the District of

  11   Arizona.

  12              It is June 6th, 2023, and the time is approximately 9

  13   a.m.   I'd like to ask all participants to please mute your

  14   phone while you are not speaking.       In light of the large number

  15   of creditors on this call, I will initially take appearances

  16   from the debtor, UMB Bank, and the Unsecured Creditors

  17   Committee.

  18              When I complete my questioning, I will go through the

  19   list of creditors who notified the UST that they intended to

  20   ask questions and I will give each creditor an opportunity to

  21   ask questions.    And before we conclude, I will give any other

  22   creditor participating on the call an opportunity to ask

  23   questions.    Will the attorney for the debtor please make his

  24   appearance?

  25              MR. TAYLOR:    Good morning.     This is Henk Taylor for


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                 Desc Exhibit 25 - 341 Transcript Page 4 of 27
                                                                                 5


   1   the debtor, Legacy Cares, Inc.

   2               HEARING OFFICER:      Thank you.      I understand that we

   3   have two individuals who will be testifying on behalf of the

   4   debtor, Mr. Doug Moss and Mr. Keith Bierman.           Is that correct,

   5   Mr. Taylor?

   6               MR. TAYLOR:    Yes.

   7               HEARING OFFICER:      Mr. Doug Moss, can you please state

   8   your name and affiliation to the Debtor, for the record?

   9               MR. MOSS:     Yes.    Good morning.    Douglas Moss,

  10   President of Legacy Cares, Inc.

  11               HEARING OFFICER:      Thank you.    And if you wouldn't

  12   mind just trying to speak up a little.          Sorry to be a pain, but

  13   we just need to make sure that this is all on the record, so

  14   I'm going to ask that both you and Mr. Birman really try to

  15   speak up.

  16               Mr. Birman, can you please state your name and

  17   affiliation to the debtor for the record?

  18               MR. BIRMAN:    Yes.    Keith Birman, senior managing

  19   director at MCA Financial Group, Ltd.          I'm the financial

  20   advisor to the Debtor, Legacy Cares, Inc.

  21               HEARING OFFICER:      Okay.   And we -- I think there's a

  22   little bit of -- and I really don't want to be a pain, but I

  23   really need for you to both really speak up a little bit more

  24   because on my end it's sounding a little garbled.           Okay?

  25               MR. BIERMAN:    Okay.    We'll do our best.


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                 Desc Exhibit 25 - 341 Transcript Page 5 of 27
                                                                               6


   1               HEARING OFFICER:     Okay.   Will the attorney for UMB

   2   Bank please make their appearance if they are on the line?

   3               MR. RIGGS:     Good morning.   This is Peter Riggs from

   4   the law firm of Spencer Fane, on behalf of UMB Bank.

   5               HEARING OFFICER:     Thank you.   And will the attorney

   6   for the Unsecured Creditors Committee please make their

   7   appearance, if they are on the line?

   8               MR. KROOP:     Good morning, everybody.    This is Jordan

   9   Kroop, Pachulski, Stang, Ziehl & Jones, on behalf of the

  10   Unsecured Creditors Committee.

  11               HEARING OFFICER:     Thank you.   I'll start with

  12   Mr. Moss.    Do you understand that your testimony here will be

  13   under oath and you will be subject to the penalties of perjury

  14   if you knowingly give false testimony?

  15               MR. MOSS:    Yes.

  16               HEARING OFFICER:     Okay.

  17               Mr. Bierman, do you understand that your testimony

  18   here will be under oath and you will be subject to the

  19   penalties of perjury if you knowingly give false testimony?

  20               MR. BIERMAN:     Yes.

  21               HEARING OFFICER:     So first I will ask Mr. Moss, on

  22   your end, please raise your right hand as I administer the

  23   oath.

  24                  DOUGLAS MOSS, DEBTOR'S WITNESS, SWORN

  25               HEARING OFFICER:     Next, Mr. Bierman?    Can you please


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                 Desc Exhibit 25 - 341 Transcript Page 6 of 27
                                                                             7


   1   raise your right hand?

   2                 KEITH BIERMAN, DEBTOR'S WITNESS, SWORN

   3              HEARING OFFICER:     Okay.    Mr. Moss, are you aware of

   4   any reason why you would not be able to fully understand my

   5   questions presented to you, today?

   6              WITNESS/MR. MOSS:     No.

   7              HEARING OFFICER:     Mr. Bierman, the same question to

   8   you?

   9              WITNESS/MR. BIERMAN:        No.

  10              HEARING OFFICER:     Okay.    Mr. Moss, you were the

  11   individual who signed the petition, schedule of assets and

  12   liabilities, and the statement of financial affairs on behalf

  13   of Legacy Cares in this case, correct?

  14              WITNESS/MR. MOSS:     That is correct.

  15              HEARING OFFICER:     Before you signed those documents,

  16   did you read and understand what you were required to disclose

  17   in response to the questions in those documents?

  18              WITNESS/MR. MOSS:     Yes, I did.

  19              HEARING OFFICER:     Did you provide answers to the

  20   questions to Debtors' bankruptcy counsel to input into the

  21   forms?

  22              WITNESS/MR. MOSS:     Yes, I did.

  23              HEARING OFFICER:     Okay.    And did you -- after the

  24   information was input into the form, did you double-check that

  25   all of the information was complete and truthful?


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                 Desc Exhibit 25 - 341 Transcript Page 7 of 27
                                                                             8


   1              WITNESS/MR. MOSS:     Yes, I did.

   2              HEARING OFFICER:     And were you aware that when you

   3   signed the petition schedules and statements, that you were

   4   attesting under oath to the truth of what was disclosed in

   5   those documents?

   6              WITNESS/MR. MOSS:     Yes, I was.

   7              HEARING OFFICER:     Okay.   Today, are you aware of any

   8   inaccuracies in the petition schedules or statements that you

   9   signed in this case?

  10              WITNESS/MR. MOSS:     No, I am not.

  11              HEARING OFFICER:     Okay.   Before I begin the

  12   questioning, please note that I will initially state the name

  13   of the person to whom the question is being directed, and then

  14   the succeeding question should be answered by that same person

  15   until I address the second testifying witness.         So I'm going to

  16   direct these series of questions to you, Mr. Moss.

  17              When did you first become president of Legacy Cares?

  18              WITNESS/MR. MOSS:     I believe it was February of 2020.

  19              HEARING OFFICER:     Okay.   And in February 2020 when

  20   you became president, Randy Miller and Chad Miller had stepped

  21   down as directors of Legacy Cares; correct?

  22              WITNESS/MR. MOSS:     That is correct.

  23              HEARING OFFICER:     When did Larry White first become a

  24   director of Legacy Cares?

  25              WITNESS/MR. MOSS:     I believe -- I believe it was the


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                 Desc Exhibit 25 - 341 Transcript Page 8 of 27
                                                                                9


   1   same day.

   2                HEARING OFFICER:    Okay.   The same day that you became

   3   president?

   4                WITNESS/MR. MOSS:    That is correct.

   5                HEARING OFFICER:    Okay.   And did Larry White serve as

   6   chief financial officer of Legacy Cares at any point during

   7   2021 and 2022?

   8                WITNESS/MR. MOSS:    Yes.

   9                HEARING OFFICER:    And do you know when that was?

  10                WITNESS/MR. MOSS:    It was -- it was the entire -- it

  11   was the entire time.

  12                HEARING OFFICER:    Okay.   So from at least August 2020

  13   through the bankruptcy filing, Larry White was serving as the

  14   chief financial officer of Legacy Cares?

  15                WITNESS/MR. MOSS:    Yes.   Yes, that's correct.

  16                HEARING OFFICER:    Okay.   So on the statement of

  17   financial affairs, page 135, it states that the current board

  18   members, as of the petition date, are Dan O'Brien and Natalie

  19   Alvarez; correct?

  20                WITNESS/MR. MOSS:    Yes, that's correct.

  21                HEARING OFFICER:    Okay.   Current --

  22                WITNESS/MR. MOSS:    In addition to Larry White and

  23   myself.

  24                HEARING OFFICER:    Oh.   Okay.   So that's not clear

  25   from the disclosure.     So and let me clarify.       You just said in


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                 Desc Exhibit 25 - 341 Transcript Page 9 of 27
                                                                              10


   1   addition to Larry White and myself.        Are you on the Board of

   2   Directors?

   3               WITNESS/MR. MOSS:     Yes, I am.

   4               HEARING OFFICER:    Okay.     And when did you first

   5   become on the Board of Directors?

   6               WITNESS/MR. MOSS:     The same -- the same day I was

   7   named president.

   8               HEARING OFFICER:    Okay.     Well, the Arizona

   9   Corporation Commission records reflect that you were only the

  10   president of Legacy Cares.      It does not reflect that you were a

  11   director.    Is that a mistake?

  12               WITNESS/MR. MOSS:     I believe it is.

  13               HEARING OFFICER:    Okay.

  14               WITNESS/MR. MOSS:     Checking -- checking the paperwork

  15   right now.

  16               HEARING OFFICER:    I'm sorry, you're checking -- can

  17   you speak up, please?

  18               WITNESS/MR. MOSS:     Yeah.   We're checking --

  19   checking -- looking at the paperwork right now.

  20               HEARING OFFICER:    Okay.     Well, I'm just telling you

  21   what the Arizona Corporation Commission records show, which is

  22   public documents.    So for clarification, in February 2020, when

  23   you became president, you also became a director of the entity

  24   Legacy Cares?

  25               WITNESS/MR. MOSS:     Yes.


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 10 of 27
                                                                              11


   1              HEARING OFFICER:     Okay.     And when did Dan O'Brien and

   2   Natalie Alvarez first become board members?

   3              WITNESS/MR. MOSS:     Dan -- Dan O'Brien, I believe, is

   4   the same time as Larry White.      And Natalie Alvarez was -- I

   5   don't remember the exact name, but it was approximately a year

   6   ago.   Maybe nine months ago.     I'd have to look.     I'm not sure

   7   offhand.

   8              HEARING OFFICER:     Okay.     And again, I'll just let you

   9   know that the Arizona Corporation Commission records reflect

  10   that -- I believe in 2020, Dan O'Brien was a director, but for

  11   2021, 2022, and 2023, Dan O'Brien is not reflected as being on

  12   the Board of Directors at Legacy Cares.        So again, is that a

  13   mistake on the records on the Arizona Corporation Commission

  14   website?

  15              WITNESS/MR. MOSS:     Yes, it is.

  16              HEARING OFFICER:     Okay.     So I think after the

  17   conclusion of the 341 meeting, I'll get with your attorney so

  18   we can sort out the paperwork on that, and figure out who was a

  19   director and when.

  20              WITNESS/MR. MOSS:     Thank you.

  21              HEARING OFFICER:     Okay.     And I do think that, for

  22   clarification, that the statement of financial affairs of

  23   Legacy Cares, in this case, should be amended to reflect that

  24   both you and Larry White are board members, in addition to Dan

  25   O'Brien and Natalie Alvarez.      Okay?


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 11 of 27
                                                                            23


   1   make it -- we needed to make a change on a number of fronts.

   2              HEARING OFFICER:     Okay.    Can you --

   3              MR. TAYLOR:    And Jennifer, just to clarify, when he

   4   refers to QMA, that means qualified management agreement.

   5              HEARING OFFICER:     Yes.    Thank you very much, Henk,

   6   for putting that on the record.        Thank you.

   7              Okay.    So for -- you mentioned performance.       Can you

   8   just give me a little bit more specific information about what

   9   type of performance problems you were having with Legacy Sports

  10   that led to the termination of the contract?

  11              WITNESS/MR. MOSS:     Well, the -- the revenues were

  12   dramatically under the projection, and we -- we were in the

  13   financial position -- position that we found ourselves in where

  14   we were unable to pay our bills, make payments to the bond

  15   holders, so things needed to change.

  16              HEARING OFFICER:     Okay.

  17              WITNESS/MR. MOSS:     And needed to change in

  18   leadership.

  19              HEARING OFFICER:     Okay.    So is it fair to say that

  20   part of the reason that Legacy Cares was compelled to file a

  21   bankruptcy was as a result of mismanagement by Legacy Sports?

  22              WITNESS/MR. MOSS:     A lack of performance of Legacy

  23   Sports, as compared to the budget and the expectation.

  24              HEARING OFFICER:     Okay.    And would you classify that

  25   as mismanagement?


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 12 of 27
                                                                             24


   1                WITNESS/MR. MOSS:    I -- I haven't been able to spend

   2   the time to really delve into that.        The performance was just

   3   not there.    The financial performance wasn't there.        So that's

   4   the overriding decision.

   5                HEARING OFFICER:    Okay.

   6                WITNESS/MR. MOSS:    The causes -- well --

   7                HEARING OFFICER:    All right.   So you said you needed

   8   new leadership?

   9                WITNESS/MR. MOSS:    Yes.

  10                HEARING OFFICER:    And then in March of 2023, Legacy

  11   Cares replaced Legacy Sports with Elite Sports Group, LLC as

  12   the manager of the park; correct?

  13                WITNESS/MR. MOSS:    That is correct.

  14                HEARING OFFICER:    Okay.    And so who made the decision

  15   to contract with Elite Sports?

  16                WITNESS/MR. MOSS:    I did.

  17                HEARING OFFICER:    And the purported managing member

  18   of Elite Sports is Randy Miller's son, Brett Miller; correct?

  19                WITNESS/MR. MOSS:    That is correct.

  20                HEARING OFFICER:    Okay.    Well, since you -- you

  21   wanted to get -- have new leadership, can you tell me why you

  22   chose to replace Legacy Sports with an entity run by a family

  23   member of the Legacy Sports principals?

  24                WITNESS/MR. MOSS:    Yeah.    Because it was Brett

  25   Miller, and it wasn't the members of the -- the rest of the


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 13 of 27
                                                                               54


   1              HEARING OFFICER:     Well, as I said it's -- the term is

   2   used throughout the load agreement.

   3              MR. TAYLOR:    Well, the word "independent" is a pretty

   4   typical word that's used throughout legal documents.          So --

   5              HEARING OFFICER:     Right.   So then I would assume that

   6   Mr. Moss, as the signatory to this loan agreement, would have

   7   understood what that term meant.

   8              MR. TAYLOR:    Again.    Without pointing to a specific

   9   provision in the agreement, Ms. Giaimo, I don't know that you

  10   can ask him about the meaning of the word -- the word

  11   "independent".

  12              HEARING OFFICER:     Well, I'm not asking.      And let me

  13   see if I could put it this way.       In your experience, Mr. Moss,

  14   as a businessman, and in your experience as the president of

  15   Legacy Cares, would you agree that King Dog was not an

  16   independent company from Legacy Cares, in light of the fact

  17   that you were both president of Legacy Cares and owner of King

  18   Dog, at the time that there was a contract between Legacy Cares

  19   and King Dog?

  20              WITNESS/MR. MOSS:       I don't know if I would agree with

  21   that.

  22              HEARING OFFICER:     Okay.    So in your opinion, you

  23   think that even though you were the president of Legacy Cares,

  24   and Legacy Cares was entering into a contract with your wholly-

  25   owned entity, King Dog, King Dog could have been considered an


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 14 of 27
                                                                               55


   1   independent company, independent from Legacy Cares?

   2               WITNESS/MR. MOSS:    Yeah.   It wasn't a subsidiary of

   3   Legacy Cares.    It was -- you know, it's -- it's yeah.

   4               HEARING OFFICER:    Okay.

   5               WITNESS/MR. MOSS:    I don't know.     It might -- I

   6   looked at it --

   7               HEARING OFFICER:    All right.    Well, let me ask you

   8   this.   So Legacy Cares had paid King Dog, your company, $35,000

   9   per month in connection with the project; correct?

  10               WITNESS/MR. MOSS:    That's correct.

  11               HEARING OFFICER:    And over what period of time were

  12   those payments made?

  13               WITNESS/MR. MOSS:    I believe it was from September of

  14   2020 to -- I'm going to say December of 2022 or January of

  15   2023.   Yeah, I think that -- 2020 -- I'm sorry.        September of

  16   2020 to either December 2021 or January 2022.

  17               HEARING OFFICER:    Okay.    And what was the fee being

  18   paid for?

  19               WITNESS/MR. MOSS:    That was to me to be -- as --

  20   as -- as president.     I had a -- a -- as president of Legacy

  21   Cares, and that was the mechanism by which there were no

  22   employees at that time.     There was no employee of Legacy Cares.

  23   Legacy Sports, we were looking to save the money and not have

  24   to pay the -- Legacy Cares or Legacy Sports, the senior

  25   executives, were not doing -- being paid directly.          They were


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 15 of 27
                                                                            60


   1   my position, as the president of Legacy Cares, through the

   2   mechanism by which the bond proceeds paid Legacy Sports to pay

   3   my salary.    That's it.   That is the only payments I received

   4   other than expense reimbursements.       But there's no second

   5   payment.

   6                HEARING OFFICER:    Okay.   But there was a disclosure,

   7   to the bondholders, that there was an agreement between Legacy

   8   Cares and King Dog to provide technology advisory services,

   9   correct?

  10                WITNESS/MR. MOSS:    Yes.   I -- there's a -- there's a

  11   deferral -- there's a deferral agreement.

  12                HEARING OFFICER:    Okay.   So that's separate and apart

  13   from the payments that --

  14                WITNESS/MR. MOSS:    That was separate and apart --

  15                HEARING OFFICER:    Okay.

  16                WITNESS/MR. MOSS:    -- and no fee was every paid, no

  17   money exchanged hands.     It was -- it was supposed to be a fee

  18   paid at closing, which was deferred based on the instructions

  19   from Ziegler, saying that the bondholders wanted to defer it.

  20   I signed a deferral agreement and agreed to those terms, and

  21   nothing has ever been transacted because those terms were never

  22   met.

  23                HEARING OFFICER:    And when you start talking about

  24   this deferred fee, are you talking about the deferred

  25   technology advisory fee in the amount of $912,500 to King Dog?


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 16 of 27
                                                                              61


   1              WITNESS/MR. MOSS:     That is correct.

   2              HEARING OFFICER:     And you're saying that -- so you're

   3   saying that was never paid?

   4              WITNESS/MR. MOSS:     Never paid.     Not any -- not that

   5   or any portion of that was ever paid.

   6              HEARING OFFICER:     Okay.   Okay.    And is that a claim

   7   that you are asserting against Legacy Cares in this case?            Are

   8   you trying to -- are you going to try to recover that fee as a

   9   creditor of Legacy Cares in this case?

  10              WITNESS/MR. MOSS:     No.

  11              HEARING OFFICER:     So is it fair to say that the

  12   $912,500 deferred fee is an amount that you no longer deem due

  13   in owing from Legacy Cares?

  14              WITNESS/MR. MOSS:     That is correct.

  15              HEARING OFFICER:     Okay.   Okay.    So in April of 2021,

  16   Mr. Moss, you attested on an annual compliance certificate that

  17   Legacy Cares had fulfilled all of its obligations under the

  18   loan agreement with the Arizona Industrial Development

  19   Authority; correct?

  20              WITNESS/MR. MOSS:     I believe so.

  21              HEARING OFFICER:     And you made a similar attestation

  22   on the 2022 annual compliance certificate; correct?

  23              WITNESS/MR. MOSS:     I believe so.

  24              HEARING OFFICER:     So at the time that you made the

  25   April 2021 certification, were you aware that Legacy cares had


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 17 of 27
                                                                             66


   1               Is that something that was just a mistake?

   2               MR. TAYLOR:   Where do you say the form schedules

   3   require exactly, Ms. Giaimo?

   4               HEARING OFFICER:      Well, if you go to the website of

   5   the bankruptcy court for the District of Arizona, they have

   6   forms, and you can easily pull up the form --

   7               MR. TAYLOR:   Okay.    I'm asking the question about

   8   typically what are you saying is the account agent, we have to

   9   give in the schedule exactly?

  10               HEARING OFFICER:      There -- you see that item 11

  11   requests the disclosure of the amount of accounts receivable,

  12   due to Legacy Cares, that are 90 days or less.         And there's an

  13   amount there.    The form requires that beneath that, you should

  14   say accounts receivable that are older than 90 days.          But

  15   that's not on the form that you --

  16               MR. TAYLOR:   I guess --

  17               HEARING OFFICER:      -- was filed.

  18               MR. TAYLOR:   I guess the form that we used didn't

  19   have it, so when you say older than 90 days, is there any

  20   outward-bound period on that?

  21               HEARING OFFICER:      I'm not saying anything --

  22               MR. TAYLOR:   90 days from what?

  23               HEARING OFFICER:      Well, let me just ask you this,

  24   Mr. Moss.   Are -- at the time of the bankruptcy filing, were

  25   there accounts receivable due to be paid to Legacy Cares that


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 18 of 27
                                                                             67


   1   were older than 90 days overdue?

   2               WITNESS/MR. MOSS:    We disclosed what we thought was

   3   accurate.

   4               HEARING OFFICER:    That's not my question.      Let me see

   5   if I can -- let me say it again.        At the time of the bankruptcy

   6   filing, were there accounts receivable due to be paid to Legacy

   7   Cares that were more than 90 day old?

   8               WITNESS/MR. MOSS:    You know, the -- there -- there

   9   were some that were in dispute, and we were having our

  10   attorneys look at it, and it wasn't really determined whether

  11   that was accurate or not.

  12               HEARING OFFICER:    Well, you did not disclose them in

  13   any event on the schedules; correct?

  14               WITNESS/MR. MOSS:    I -- I didn't see where in the

  15   form that we have -- I don't -- I don't see where it shows

  16   that.

  17               HEARING OFFICER:    Okay.   Well, I'm --

  18               WITNESS/BIERMAN:    Ms. Giaimo, this is Keith.       We'd be

  19   happy to follow up with you --

  20               HEARING OFFICER:    Yes.

  21               WITNESS/BIERMAN:    -- and review the detail of what's

  22   in that accounts receivable number on item 11 on the schedule

  23   so that you -- it may -- I don't want to speculate, but it may

  24   very well be that there are receivables or that that's the

  25   total receivable number and that there are actual individual


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 19 of 27
                                                                               68


   1   accounts older than 90 days that are within that balance and

   2   may just have been input incorrectly.

   3              HEARING OFFICER:     Okay.

   4              WITNESS/BIERMAN:     But we -- that's an easy follow-up

   5   with --

   6              HEARING OFFICER:     Okay.   And it's not just a

   7   follow-up.   I think what you need to do is follow the form so

   8   we can hash this out after the meeting, but I am going to

   9   request that this be amended so that the form that is filed

  10   complies with the form that is provided on the court's website

  11   which requires -- that has a line item for accounts receivable

  12   that are older than 90 days.      And if they're zero, then you

  13   need to put that.     Okay?

  14              WITNESS/BIERMAN:     Okay.

  15              HEARING OFFICER:     Okay.   Well, let me go back to the

  16   accounts receivable that were reflected on the Legacy Cares

  17   balance sheet for the first quarter of 2022.         So there were

  18   $1.3 million of receivables from Legacy Sports.         Was that $1.3

  19   million paid?     Was it ever paid?

  20              WITNESS/BIERMAN:     That's what's in dispute.      Legacy

  21   Sports says that it has been paid and we disagree and our --

  22   we've been discussing that, and it has not come to that

  23   conclusion yet.

  24              HEARING OFFICER:     Okay.   So that should be disclosed

  25   then as a potential account receivable, at least on the


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 20 of 27
                                                                                   69


   1   schedule of assets for Legacy Cares.        Okay?

   2              WITNESS/BIERMAN:     We can make that adjustment.

   3              HEARING OFFICER:     Okay.

   4              WITNESS/BIERMAN:     We can make that adjustment.

   5              HEARING OFFICER:     Okay.   So I want to ask you.         The

   6   $1.3 million reflected on the first quarter of 2022 balance

   7   sheet is broken down.     There's $1.2 million receivable labeled

   8   as "LSUSA Operating Activity XFR."       Can you tell me what that

   9   refers to, Mr. Moss?

  10              WITNESS/MR. MOSS:     I -- I don't recall.

  11              HEARING OFFICER:     You don't have any idea what the

  12   $1.2 million receivable on the 2022 balance sheet refers to?

  13              WITNESS/BIERMAN:     When you say 2022, Ms. Giaimo, what

  14   month specifically?     Are you talking 12/31/2022?

  15              HEARING OFFICER:     I'm talking about the first quarter

  16   of 2022, so obviously it would be January, February --

  17              WITNESS/BIERMAN:     Okay.

  18              HEARING OFFICER:     -- or March.

  19              WITNESS/BIERMAN:     So March 31st, 2022?      Okay.      We

  20   don't have that in front of us so we -- I'll see if I can pull

  21   it up here.   I wasn't aware you were going to ask about March

  22   of 2022 so I didn't have that in front of me.

  23              HEARING OFFICER:     Yeah.   If you could do that, that

  24   would be helpful, because my next question -- there's also a

  25   receivable in the amount of about $63,000 for a loan.             It says


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 21 of 27
                                                                                 72


   1               WITNESS/MR. MOSS:    -- what I'm not seeing.

   2               HEARING OFFICER:    Okay.   Hold on.    I'm not asking you

   3   about looking at a document, right now.        Do you recall, as the

   4   president of Legacy Cares, that Legacy Cares made a loan to

   5   Legacy Sports LLC in the amount of about $63,000 in the first

   6   quarter of 2022?    Do you recall that occurring?

   7               WITNESS/MR. MOSS:    I'm not aware -- I do not recall

   8   that.   It could have been an intercompany transfer of some

   9   sort.   I don't know.

  10               HEARING OFFICER:    Okay.   So would you have any reason

  11   to dispute a balance sheet that stated that there was loan

  12   principal due to Legacy Cares from Legacy Sports LLC in the

  13   amount of about $63,000 for the first quarter of 2022?           Do you

  14   have any reason to dispute that?

  15               MR. TAYLOR:   Ms. Giaimo, you're referring to a

  16   balance sheet.     I think Mr. Bierman is trying to open it up on

  17   his computer to understand what you're referencing here.             So

  18   you'll need to give us a few minutes to get what we think is

  19   the document that you're asking about in front of us.

  20               HEARING OFFICER:    Okay.   That's fine.    All right.

  21   While that's happening, let me see if I can ask -- let me just

  22   ask a couple of quick questions while they're pulling up that

  23   document.    To your knowledge --

  24               MR. TAYLOR:   Ms. Giaimo, you're going to have to

  25   wait.   We're trying to get this document that you're asking


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 22 of 27
                                                                                 77


   1              HEARING OFFICER:     Okay.   Well let me ask you this.

   2   As the president of Legacy Cares, was it your responsibility to

   3   approve any loans being made on behalf of the company?

   4              WITNESS/MR. MOSS:     I believe the bond documents

   5   prohibit us from doing loans so I won't -- I don't know, again.

   6   This is where I'm out of my lane here.        I would -- I would not

   7   necessarily categorize these as a loan.        Maybe Larry would.         I

   8   don't know.   But I mean, there would -- I don't believe these

   9   were loans.

  10              To the best of my knowledge, they could have been

  11   internal, they could have been transfers, but I -- I don't

  12   know.    I don't know.   That's why I'm really just speculating

  13   here and I'm uncomfortable speculating because we can get the

  14   person to you that can give you the exact information.

  15              HEARING OFFICER:     Okay.   But my question is whether

  16   or you in your capacity as president were the person that would

  17   need to authorize any loans being made on behalf of Legacy

  18   Cares?

  19              MR. TAYLOR:    Ms. Giaimo, this is Henk here.       I'm

  20   going to make a statement for the record at this point.              We

  21   have been in this 341 meeting for almost an hour and 45

  22   minutes, and it's clear that you're conducting a deposition of

  23   Mr. Moss, and I object to that.       If you want to have a

  24   deposition of Mr. Moss, you can do that through a 2004

  25   examination, which is proper.


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 23 of 27
                                                                             80


   1              WITNESS/MR. MOSS:     Yes.

   2              HEARING OFFICER:     Who's the entity that holds that

   3   liquor license?

   4              WITNESS/MR. MOSS:     I don't recall the -- I don't

   5   recall the name of the entity offhand.

   6              HEARING OFFICER:     So let me ask you this.      Is the

   7   liquor license, as far as you're concerned, going to be part of

   8   the assets that are being -- that are proposed to be sold in

   9   this case?

  10              WITNESS/MR. MOSS:     Potentially, yes.

  11              HEARING OFFICER:     And how would you go about getting

  12   that liquor license, getting the rights to sell that liquor

  13   license if it's in someone else's name?

  14              WITNESS/MR. MOSS:     I -- I -- I don't know.      You'd

  15   have to ask an attorney.

  16              HEARING OFFICER:     Okay.    The balance sheet also

  17   reflects that there is an amount due to Legacy Cares from --

  18   well, it says for Waltz Construction settlement, and the amount

  19   due is about $1.1 million.      Can you tell me what that's for?

  20              WITNESS/MR. MOSS:     That was -- that was payment

  21   that's been in dispute between Legacy Sports and Legacy Cares.

  22              HEARING OFFICER:     Okay.    Can you tell me a little bit

  23   more about what the amount is refers to?        Was there a

  24   settlement between anybody at J.S. Waltz Construction Company?

  25              WITNESS/MR. MOSS:     Yeah.   It was a settlement


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 24 of 27
                                                                                81


   1   agreement between Legacy Cares or among Legacy Cares and Waltz

   2   Construction.    Part of that agreement also included Legacy

   3   Sports.    There was money to satisfy and be able to conclude

   4   this agreement, the settlement agreement.        Legacy Cares paid

   5   settlement for Legacy Sports, and said that was to be

   6   reimbursed and that's the money that's showing there.          And that

   7   Legacy Sports says that it has been repaid.         And that is in

   8   dispute.

   9              HEARING OFFICER:     Okay.    So that is -- is that then

  10   considered a current asset of the estate?

  11              WITNESS/MR. MOSS:     Yeah.    Potentially, it is.        Yeah.

  12              HEARING OFFICER:     Right.    This claim.   So Legacy

  13   Cares has a claim against Legacy Sports in the amount of about

  14   $1.1 million for this Waltz Construction settlement payment.

  15   Is that correct?

  16              WITNESS/MR. MOSS:     That's correct.

  17              HEARING OFFICER:     Okay.    And let me ask you.     Do you

  18   know what caused there to be a dispute?        Or what was the

  19   dispute that led to this settlement?

  20              WITNESS/MR. MOSS:     Legacy Cares terminated Waltz as

  21   the -- the construction company building the park.

  22              HEARING OFFICER:     Okay.    And had Waltz Construction

  23   ever performed any services or given any labor or materials

  24   before the settlement?

  25              WITNESS/MR. MOSS:     Yes.    And that's why that was part


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 25 of 27
                                                                            82


   1   of the settlement.

   2              HEARING OFFICER:     Okay.   And who was the person that

   3   signed the contract with Waltz on behalf of Legacy Cares?

   4              WITNESS/MR. MOSS:     I believe it was myself.

   5              HEARING OFFICER:     Okay.   And can you tell me why you

   6   terminated the Waltz Construction contract?

   7              WITNESS/MR. MOSS:     There was a lack of progress on

   8   the project and there were also concerns about the ability of

   9   Waltz to complete the project on time and on budget.

  10              HEARING OFFICER:     Okay.   Okay so Mr. Moss, your

  11   declaration states that in the summer of 2022, Legacy Sports

  12   retained Loop Capital to obtain alternate financing for Legacy

  13   Cares.   Is that correct?

  14              WITNESS/MR. MOSS:     That's correct.

  15              HEARING OFFICER:     Did you authorize Legacy Sports to

  16   undertake those refinancing efforts on behalf of Legacy Cares?

  17              WITNESS/MR. MOSS:     No.

  18              HEARING OFFICER:     Who authorized that?

  19              WITNESS/MR. MOSS:     Legacy Sports.

  20              HEARING OFFICER:     Legacy Sports authorized itself to

  21   obtain financing on behalf of Legacy Cares?

  22              WITNESS/MR. MOSS:     Let me put it to you this way,

  23   they took it up on themselves to reach out to Loop Capital to

  24   begin refinancing -- a refinancing process.

  25              HEARING OFFICER:     Well, can you tell me why Legacy


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 26 of 27
                                                                             114


   1              WITNESS/MR. MOSS:     But I don't want -- I don't want

   2   to speculate -- I don't want to speculate on what those options

   3   and alternatives would be.

   4              HEARING OFFICER:      Right.    But I was just trying to

   5   get an idea if you've considered what alternate options there

   6   are for reorganization in the event that a sale falls through,

   7   and you're saying you have not.       Is that right?

   8              WITNESS/MR. MOSS:     We have not focused in on that.

   9   We focused -- we were focusing in on the current process at

  10   hand.

  11              HEARING OFFICER:      Okay.    All right.   Well, I have no

  12   further questions.      I'm going to open up and again ask if

  13   anyone on the line has any follow-up questions they'd like to

  14   ask.    Anyone?

  15              Okay.    All right.   Then that will conclude this

  16   matter.    Thank you all for attending.      And we will go off the

  17   record, now.      Thank you.

  18          (Proceedings Concluded)

  19

  20          I certify that the foregoing is a correct transcript from

  21   the record of proceedings in the above-entitled matter.

  22

  23   Dated: June 9, 2023                       ____________________________
                                                 eScribers, LLC
  24                                             7 227 N. 16th Street
                                                 Suite #207
  25                                             Phoenix, AZ 85020


Case 2:23-bk-02832-DPC Doc 246-2 Filed 06/28/23 Entered 06/28/23 12:17:34
                Desc Exhibit 25 - 341 Transcript Page 27 of 27
